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                     1 KRISTOL BRADLEY GINAPP
                         Nevada Bar No. 8468
                     2     E-Mail: Kristol.Ginapp@lewisbrisbois.com
                         CAYLA WITTY
                     3   Nevada Bar No. 12897
                           E-Mail: Cayla.Witty@lewisbrisbois.com
                     4   LEWIS BRISBOIS BISGAARD & SMITH LLP
                         6385 S. Rainbow Boulevard, Suite 600
                     5   Las Vegas, Nevada 89118
                         702.893.3383
                     6   FAX: 702.893.3789

                     7 Attorneys for Affinitylifestyles.com, Inc. d/b/a
                         Real Alkalized Water
                     8
                                                          UNITED STATES DISTRICT COURT
                     9
                                                                DISTRICT OF NEVADA
                    10
                       GRECIA ECHEVARRIA-HERNANDEZ,                           CASE NO. 2:16-cv-00943-GMN-VCF
                    11 individually,
                                                                              STIPULATION AND ORDER TO
                    12                      Plaintiff,                        EXTEND DISCOVERY DEADLINES

                    13             vs.
                                                                              (SECOND REQUEST)
                    14 AFFINITYLIFESTYLES.COM, INC. d/b/a
                       REAL ALKALIZED WATER, a Nevada
                    15 corporation, DOES I-X, and ROE BUSINESS
                       ENTITIES I-X, inclusive,
                    16
                                            Defendants.
                    17
                    18
                    19            Pursuant to LR 6-1 and LR 26-4, Defendant Affinitylifestyles.com, Inc. d/b/a Real

                    20 Alkalized Water (“Real Water”) and Plaintiff Grecia Echevarria-Hernandez, by and through their
                    21 respective counsel of record, hereby stipulate and request that this Court extend discovery in the
                    22 above-captioned case thirty days (30) days, up to and including February 20, 2017. In addition,
                    23 the parties request that all corresponding dispositive motions and pretrial order deadlines be
                    24 extended as outlined herein. In support of this Stipulation and Request, the parties state as
                    25 follows:
                    26                                        DISCOVERY COMPLETED

                    27            1.        On April 26, 2016, this action was commenced by filing of the Complaint.

LEW IS              28            2.        On May 25, 2016, Defendant filed its Motion to Compel Arbitration.
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                     1            3.        On July 5, 2016, Plaintiff produced her Initial Disclosures.

                     2            4.        On July 6, 2016, Plaintiff propounded her First Set of Requests for Production of

                     3 Documents, First Set of Requests for Admissions, and First Set of Interrogatories to Real Water.
                     4            5.        On July 7, 2016, the parties submitted a proposed Discovery Plan and Scheduling

                     5 Order, which the Court signed as an Order on July 8, 2016.
                     6            6.        On July 12, 2016, Real Water produced their Initial Disclosures of Production of

                     7 Documents.
                     8            7.        On August 15, 2016, Real Water propounded their Responses to Plaintiff’s First

                     9 Set of Requests for Admission and Responses to Plaintiff’s First Set of Interrogatories to Plaintiff.
                    10            8.        On August 17, 2016, Real Water propounded their Responses to Plaintiff’s First

                    11 Set of Requests for Production of Documents to Plaintiff.
                    12            9.        On August 17, 2016, Real Water produced their First Supplemental Disclosures.

                    13            10.       On October 3, 2016, Plaintiff produced her First Supplement to Initial Disclosures.

                    14            11.       On October 7, 2016, Plaintiff deposed Real Water employee Aimee Jones.

                    15            12.       On October 11, 2016, Plaintiff deposed Real Water employee Frank Consiglio.

                    16            13.       On October 11, 2016, Plaintiff produced her Second Supplement to Initial

                    17 Disclosures.
                    18            14.       On October 12, 2016, Plaintiff propounded her Second Set of Interrogatories and

                    19 Second Set of Requests for Production of Documents to Real Water.
                    20            15.       On October 25, 2016, Plaintiff produced her Third Supplement to Initial

                    21 Disclosures.
                    22            16.       On October 27, 2016, Plaintiff deposed Blain Jones, Real Water’s Rule 30(b)(6)

                    23 witness.
                    24            17.       On October 31, 2016, Plaintiff produced her Fourth Supplement to Initial

                    25 Disclosures.
                    26            18.       On November 3, 2016, Real Water deposed Plaintiff.

                    27            19.       On November 8, 2016, Plaintiff produced her Fifth Supplement to Initial

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                     1            20.       On December 9, 2016, Plaintiff produced her Sixth Supplement to Initial

                     2 Disclosures.
                     3            21.       On December 14, 2016, the parties mutually exchanged initial expert disclosures.

                     4            22.       On December 15, 2016, Plaintiff propounded her Third Set of Interrogatories to

                     5 Defendant, her Second Set of Requests for Admission to Defendant, and her Third Set of Requests
                     6 for Production of Documents to Defendant.
                     7            23.       On December 28, 2016, Plaintiff produced her Seventh Supplement to Initial

                     8 Disclosures.
                     9            24.       On December 28, 2016, Plaintiff deposed Brent Jones and Bonnie Mercado.

                    10            25.       On January 9, 2017, Plaintiff produced her rebuttal expert disclosures.

                    11            26.       On January 9, 2017, Real Water produced its supplemental designation of expert

                    12 witnesses.
                    13            27.       On January 16, 2017, Plaintiff unilaterally set Jeramy Edgel’s deposition for

                    14 January 20, 2017 to preserve a date within the current discovery period because Defendant was
                    15 unable to provide availability for Mr. Edgel at the time.
                    16                                         DISCOVERY REMAINING

                    17            1.        The deposition of Jeramy Edgel.

                    18            2.        The depositions of the parties’ named experts.

                    19            3.        Any additional discovery.

                    20                        REASONS WHY DISCOVERY WAS NOT COMPLETED

                    21            Mr. Edgel’s deposition has not been accomplished due to the witness’ unavailability.

                    22 When Plaintiff first requested Mr. Edgel’s deposition, the witness was on medical leave from
                    23 work with Defendant. Since that time, Mr. Edgel has ended his employment with Defendant.
                    24 Defendant will provide additional proposed dates of availability for Mr. Edgel’s deposition, but
                    25 the date unilaterally set by Plaintiff is unavailable for Defendant’s counsel.
                    26            After the parties mutually exchanged expert disclosures on December 14, 2016, due to the

                    27 intervening holidays and the parties’ schedules, dates for depositions have not been set. The

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                     1 parties agree to coordinate on dates within the short extension to accomplish this remaining
                     2 discovery.
                     3            Additionally, Defendant has requested an extension of time to submit responses to

                     4 Plaintiff’s Third Set of Interrogatories, Second Set of Requests for Admission, and Third Set of
                     5 Requests for Production of Documents, which necessitates a short extension of the discovery
                     6 deadline.
                     7            The parties agree to cooperate and diligently coordinate any remaining discovery activities.

                     8 Based on the foregoing, the parties aver, pursuant to Local Rule 6-1, that good cause exists for the
                     9 requested extension.
                    10                             PROPOSED SCHEDULE FOR DISCOVERY

                    11            The following is a list of the current discovery deadlines and the parties’ proposed

                    12 extended deadlines.
                    13    Scheduled Event                        Current Deadline           Proposed Deadline
                    14    Discovery Cut-off                      January 20, 2017           February 20, 2017
                    15    Dispositive Motions                    February 20, 2017          March 22, 2017 or at least
                                                                                            thirty (30) days after the
                    16                                                                      close of discovery
                          Joint Pretrial Order                   March 22, 2017             April 21, 2017 or at least
                    17                                                                      thirty (30) days after the
                                                                                            decision of last Dispositive
                    18                                                                      Motions
                    19
                                  Extension or Modification of The Discovery Plan and Scheduling Order. LR 26-4 governs
                    20
                    21 modifications or extension of this discovery plan and scheduling order. Any stipulation or motion
                    22 must be made no later than twenty-one (21) days before the expiration of the subject deadline, and
                    23 comply fully with LR 26-4.
                                  The parties recognize that they are requesting an extension of the discovery deadline inside
                    24
                    25 of the twenty-one (21) day period as set forth in LR 26-4. As such, the parties submit that good
                    26 cause exists to permit granting this short extension in light of the witness availability issues, the
                    27 holiday schedule interference, and the parties’ continuing cooperation. Moreover, the parties

LEW IS              28 submit that excusable neglect exists to permit granting the instant requested extension. In
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                     1 evaluating excusable neglect, the court considers the following factors: (1) the reason for the
                     2 delay and whether it was in the reasonable control of the moving party, (2) whether the moving
                     3 party acted in good faith, (3) the length of the delay and its potential impact on the proceedings,
                     4 and (4) the danger of prejudice to the nonmoving party. See Pioneer Inv. Servs. Co. v. Brunswick
                     5 Assocs., 507 U.S. 380, 395 S. Ct. 1489, 123 L.Ed.2d 74 (1993). The parties continue to act in
                     6 good faith to complete discovery as ordered by the Court. Further, this extension request is made
                     7 in good faith, jointly by the parties, and not for the purposes of delay. Trial in this matter has not
                     8 yet been set. Moreover, since this request is a joint request, neither party will be prejudiced.
                     9            This Request for an extension of time is not sought for any improper purpose or other

                    10 purpose of delay. Rather, it is sought by the parties solely for the purpose of allowing sufficient
                    11 time to conduct discovery in this case and to adequately prepare their respective cases for trial.
                    12            This is the second request for extension of time in this matter. The parties respectfully

                    13 submit that the reasons set forth above constitute compelling reasons for the short extension.
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                     1            WHEREFORE, the parties respectfully request that this Court extend the discovery period

                     2 by thirty days (30) from the current deadline of January 20, 2017 up to and including February 20,
                     3 2017 and the other dates as outlined in accordance with the table above.
                     4 DATED this 18th day of January, 2017.                  DATED this 18th day of January, 2017.

                     5 /s/ Danielle J. Barraza, Esq.                          /s/ Cayla Witty, Esq.
                         Joseph A. Gutierrez, Esq.                            Kristol Bradley Ginapp, Esq.
                     6 Danielle J. Barraza, Esq.                              Cayla Witty, Esq.
                                                                              LEWIS BRISBOIS BISGAARD &
                     7 MAIER GUTIERREZ AYON                                   SMITH LLP
                       8816 Spanish Ridge Avenue
                                                                              6385 S. Rainbow Boulevard, Suite 600
                     8 Las Vegas, NV 89148                                    Las Vegas, Nevada 89118
                       T: 702-629-7900                                        T. 702.893.3383
                     9 F: 702-629-7925                                        F: 702.893.3789
                       E: jag@mgalaw.com                                      E: Kristol.Ginapp@lewisbrisbois.com
                    10 E: djb@mgalaw.com                                      E: Cayla.Witty@lewisbrisbois.com
                    11                                                        Attorneys for Affinitylifestyles.com, Inc.
                       Attorneys for Plaintiff Grecia Echevarria-
                                                                              d/b/a Real Alkalized Water
                    12 Hernandez
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                                                                      ORDER
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                                  IT IS SO ORDERED,
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                                             UIof January, 2017.
                                  DATED this ___
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                                                                        US MAGISTRATE JUDGE
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